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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY
In re Kornit Digital Ltd. Securities            No. 2:23-cv-00888-MCA-AME
Litigation                                      Document Filed Electronically

                                                CLASS ACTION

                                                ORAL ARGUMENT
                                                REQUESTED

                                                RETURN DATE:
                                                May 5, 2025


     REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
        DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’
            AMENDED CONSOLIDATED COMPLAINT


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Note on Citation Format: Unless otherwise noted, emphasis has been added to
quotations, and internal quotations, brackets, citations, and footnotes have been
omitted. References to the “Opening Brief” or “Br.” correspond to the
Memorandum of Law in Support of Defendants’ Motion to Dismiss Plaintiffs’
Amended Consolidated Complaint (Dkt. 64-1); references to the “Underwriters’
Opening Brief” or “UW Br.” correspond to the Underwriter Defendants’ Joinder in
the Kornit Defendants’ Motion to Dismiss Plaintiffs’ Amended Consolidated
Complaint (Dkt. 65-1); references to the “Opposition” or “Opp.” correspond to
Plaintiffs’ Memorandum of Law in Opposition to Defendants’ Motion to Dismiss
(Dkt. 66); and references to Ex.__ correspond to the exhibits attached to the
Declaration of Edmund Polubinski (Dkt. 64-2). All defined terms in the Opening
Brief are incorporated herein.




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                         PRELIMINARY STATEMENT

      As Defendants’ Opening Brief explained, Plaintiffs’ Amended Consolidated

Complaint suffers from numerous defects requiring dismissal with prejudice.

Plaintiffs’ Opposition in no way alters that outcome. It fails to meaningfully rebut

Defendants’ arguments or explain away the numerous pleading deficiencies. If the

ACC is Plaintiffs’ best effort to abide by the Court’s directive to “replead as

specifically as you can,” it is now clear that Plaintiffs cannot plead claims that are

even plausible, let alone adequately particularized.

      Plaintiffs’ Exchange Act claims are largely premised on the same inadequate

theories that animated their prior pleading. The various ancillary and cosmetic

changes that Plaintiffs made in the ACC (and repeatedly cited in Opposition) make

no difference. Plaintiffs and the low-level FEs on whom they rely still fail to

identify particularized facts that plausibly could render Defendants’ challenged

statements false or misleading when made. Nor do Plaintiffs’ theories of falsity

account for Kornit’s detailed and specific disclosures, which addressed the very

circumstances and risks Plaintiffs claim were omitted. The Opposition also fails to

rehabilitate the ACC’s deficient scienter allegations. Instead, Plaintiffs merely

repeat scienter arguments that courts in this circuit frequently reject, including that

the purported fraud involved Kornit’s “core operations” and was revealed in

unspecified reports from databases Defendants allegedly could access. These



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allegations fail, as do Plaintiffs’ allegations about Mr. Samuel’s stock sales during

the Class Period, because—despite those sales, which Plaintiffs concede were

made pursuant to a Rule 10b5-1 plan—Mr. Samuel undisputedly ended up with

more shares after the Class Period than before.

      Plaintiffs’ Securities Act claims fare no better. These claims are subject to a

heightened pleading standard because they sound in fraud and are premised on

alleged knowing misrepresentations. But, even if judged by Rule 8(a)’s

plausibility standard, the Securities Act claims still fail because Plaintiffs do not

allege anything misleading about the statements at issue when they were made,

rather than in hindsight.

      In light of the ACC’s deficiencies and Plaintiffs’ failure to remedy them—

despite having insight into Defendants’ arguments, the benefit of the Court’s

guidance, and multiple chances to do so—the Amended Complaint should be

dismissed with prejudice.

                                    ARGUMENT

I.    Plaintiffs’ Exchange Act Claims Should Be Dismissed

      As explained in the Opening Brief, Plaintiffs’ Section 10(b) claims should

be dismissed for numerous reasons, including many uncorrected flaws that the

Court identified in Plaintiffs’ prior pleading.




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       A.     Plaintiffs Fail to Plausibly Allege that Any Statements
              Were False or Misleading When Made
       The ACC fails to allege actionable misstatements or omissions because none

 of the challenged statements is alleged to have been false or misleading when

 made, the allegedly omitted information was disclosed, and the alleged

 misstatements otherwise are not actionable as protected forward-looking

 statements or statements of opinion. Br. 11–38.

              1.    The Challenged Statements Were Not False or Misleading
                    and There Was No Duty to Disclose the Alleged Omissions
       Statements Regarding Competition. Plaintiffs’ claim that Defendants

 misleadingly omitted information related to competition fails because Defendants

 made consistent, specific disclosures on that topic and had no duty to disclose any

 additional information. Br. 12–15. As Defendants demonstrated, Kornit disclosed

 the existence of competition and product defects, precluding liability. See Br. 8–9,

 12–13, 28–31. Plaintiffs do not and cannot dispute that Kornit even disclosed

 competition from M&R—the competitor on whom Plaintiffs focus—by name. Br.

 8, 12, 29. Although Plaintiffs attempt to challenge the effectiveness of these risk

 disclosures, see Opp. 32–34, 37 n.10, they cannot do so.

       To start, as Defendants have shown, Kornit had no duty to disclose a

 purported loss to M&R of some business from Delta and Fanatics, let alone any

 duty to do so before it did. Br. 12–15. The Opposition does not and cannot



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 identify any of Defendants’ affirmative statements that were rendered misleading

 by this nondisclosure, as required. See Macquarie Infrastructure Corp. v. Moab

 Partners, L.P., 601 U.S. 257, 260 (2024). Indeed, as Plaintiffs fail to dispute,

 Kornit never described its relationship with Delta or Fanatics at all, much less

 guaranteed their future business. Br. 13. Nor do Plaintiffs contest that Kornit

 made extensive cautionary disclosures about competition, including its dependence

 on a small number of key customers. Br. 7–8.1 For this reason, Plaintiffs cannot

 rely on Carmignac Gestion, S.A. v. Perrigo Co. PLC, 2019 WL 3451523 (D.N.J.

 July 31, 2019); see Opp. 34, where—unlike here—Defendants made specific

 pricing representations that were at odds with existing facts and did not adequately

 disclose applicable risks. Carmignac, 2019 WL 3451523, at *11–12.

       Further, even if Plaintiffs could show that Kornit had an affirmative duty to

 disclose the alleged loss of Delta’s and Fanatics’ business, this claim would still

 fail because Plaintiffs have not alleged that Kornit was aware of this alleged loss

 when the challenged statements were made. Br. 13–15. In trying to assert

 otherwise, Opp. 33–34, Plaintiffs abandon the ACC’s reliance on a purported


       1
          Plaintiffs also fail to meaningfully distinguish In re Tseng Labs, Inc.
 Securities Litigation, 954 F. Supp. 1024 (E.D. Pa. 1996), aff’d, 107 F.3d 8 (3d Cir.
 1997). See Opp. 34. The court there rejected a duty to disclose loss of business to
 competitors despite the allegation—also made by Plaintiffs here—that defendants
 had made certain misstatements “to prevent the impression that [defendant] was
 falling behind its competitors.” Tseng, 954 F. Supp. at 1028.


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 “admi[ssion]” by Defendant Samuel and on statements from FE1 and FE4 as

 support for their claim. ACC ¶¶ 126, 129–33, 186. Instead, Plaintiffs lean heavily

 on new FE12, ACC ¶¶ 127–28, but FE12 ultimately says nothing more than what

 Kornit consistently disclosed—that it faced competition, including from M&R—

 and his statements thus fail to support a claim. See, e.g., In re Donald J. Trump

 Casino Sec. Litig., 793 F. Supp. 543, 561 (D.N.J. 1992) (dismissing claim that

 prospectus “fail[ed] to disclose the existence of competition” because disclosure

 identified company’s competitors for customers and business), aff’d sub nom. In re

 Donald J. Trump Casino Sec. Litig.-Taj Mahal Litig., 7 F.3d 357 (3d Cir. 1993).

       Plaintiffs next challenge as false and misleading statements about the

 technology “moat” separating Kornit’s technology from that of its competitors,

 Opp. 32–34 (citing ACC ¶¶ 119–21, 221–30, 404), but do not actually allege that

 these statements were false. Plaintiffs do not, for example, provide any factual

 support for the inference that competitors had superior technology to Kornit.

 Instead, Plaintiffs simply repurpose their allegations that Kornit knew “of stiff

 competition, including from M&R,” and that Kornit’s printers experienced

 technical difficulties that led some customers to move some business to

 competitors. Id. at 32–33. As demonstrated above and in Defendants’ Opening

 Brief, however, all of this was explicitly disclosed, negating Plaintiffs’ claims.

       Alleged Decline in Customer Demand. Plaintiffs’ claims based on an



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 allegedly undisclosed trend of declining customer demand fail because they do not

 allege any such trend emerged in Q4 2021 and because Kornit proactively

 disclosed emerging negative demand indicators in its Q1 2022 earnings call. Br.

 15–18. Though Plaintiffs continue to insist that Defendants knew of a declining

 demand trend “by November 2021,” Opp. 23–27, the ACC does not allege this.

       Plaintiffs also continue to mischaracterize Mr. Samuel’s statement on June

 7, 2022 as an “admission” that a negative demand trend began in Q4 2021. Opp.

 23–24. Plaintiffs, however, never meaningfully address Defendants’ argument that

 their claims are at odds with the plain text of what Mr. Samuel actually said. Br.

 16–17. As Defendants showed, Mr. Samuel made clear that one customer—

 Printful—placed orders with Kornit “in Q4,” but did not share until “the end of

 Q1” 2022 that it was not planning to order additional systems due to a slowdown

 Printful had started to experience in the prior quarter. Ex. 17 at 11–12.2 Plaintiffs

 seize on the idea that Printful was just “an example” of “other customers[’]”

 experience, Opp. 24, but this misses the point. Regardless of how many customers



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          In support of the claim that Printful’s internal business slowdown in Q4
 was visible to Kornit—despite Printful affirmatively placing orders in that
 quarter—Plaintiffs offer only generalized allegations that Kornit had visibility into
 its customers’ use of its systems. Opp. 24 (citing AC ¶¶ 155–63). But such
 allegations cannot show that Kornit had sufficient information about, e.g.,
 Printful’s pipeline and customer relationships to holistically assess the state of
 Printful’s business.


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 experienced slowdowns, Mr. Samuel was offering Printful as “an example” of

 “[w]hat happened . . . in Q1” 2022, Ex. 17 at 11–12—and Kornit extensively

 disclosed faltering demand in its Q1 2022 earnings call. Br. 18. Mr. Samuels’

 statement thus provides no support for Plaintiffs’ claim that Kornit knew of a

 demand decline earlier.

       Plaintiffs assert that disclosures of emerging declining demand in the Q1

 earnings call were insufficient because Kornit’s statements allegedly painted a

 misleadingly rosy picture of its future sales prospects. Opp. 25–27. But Plaintiffs

 do not dispute that Kornit specifically disclosed the e-commerce slowdown and

 delayed orders on that earnings call, nor do they allege that Kornit omitted

 anything about the negative indicators it was then aware of that could render these

 statements misleading. Kornit’s concurrent expressions of optimism were

 therefore neither misleading nor actionable. Br. 18. Plaintiffs attempt to

 distinguish Rescue Mission of El Paso, Inc. v. K-Sea Transportation Partners L.P.,

 as containing “only ‘measured’ statements that fully warned investors of a demand

 decline,” Opp. 27, but that is no distinction at all given the “significant

 qualifications” Kornit disclosed with respect to its optimism around the current

 quarter, 2013 WL 3087078, at *16 (D.N.J. June 14, 2013); Ex. 9 at 5–6, 9.

       Unable to base their claims on these disclosures, Plaintiffs revert to relying

 on FE3’s detail-free allegations about “recurring calls” and “discuss[ions] . . . with



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 his President and Vice President” and FE12’s vague statement about “pressure.”

 Opp. 24–25. But these are the types of allegations the Court already held were too

 vague to support any inference of an actionable misstatement or omission. Br. 15–

 16. Instead of addressing the Court’s direction about FE3— that Plaintiffs needed

 “more here to demonstrate falsity,” ECF No. 56 (“Oral Argument Tr.”) 23:24–

 25:17—or obtaining a statement from Chuck Meyo, the alleged source of FE3’s

 information, id. 25:21-26:7, Plaintiffs merely point to FE12’s generalized

 allegations that FE3 was “close” with Mr. Meyo. Opp. 25. But FE12 adds no

 specificity to FE3’s claims about Defendants’ knowledge of declining demand in

 Q4 2021. Br. 15–16 & n.9.3

       Plaintiffs emphasize that courts have occasionally permitted confidential

 witnesses to rely on indirect knowledge, Opp. 25 & n.2, but, even if that were the

 case, the secondhand information provided by the FEs fails to provide the requisite

 factual detail. Plaintiffs do not describe their sources—or their sources’ sources—

 “with sufficient particularity to support the probability that a person in the position

 occupied by the source would possess the information alleged.” Cal. Pub. Emps.’

 Ret. Sys. v. Chubb Corp., 394 F.3d 126, 146 (3d Cir. 2004); see also Rahman v.


       3
         Plaintiffs’ characterization of Alberici v. Recro Pharma, Inc. as having
 “found falsity established based on a single FE’s access to negative data” is also
 perplexing; there the court did not analyze falsity because “the lack of scienter”
 allegations were “fatal.” 2020 WL 806719, at *8 (E.D. Pa. Feb. 14, 2020).


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 Kid Brands, Inc., 736 F.3d 237, 244 (3d Cir. 2013).

       Statements Regarding Sticker Mule. Plaintiffs’ claims related to certain

 November 2021 statements regarding Sticker Mule’s utilization and integration of

 Kornit systems also fail because they allege no facts that could demonstrate the

 statements were false or misleading when made in November 2021. Br. 18–20.

       In resisting this conclusion, Plaintiffs recycle the allegations from FE3 and

 FE4 that the Court previously rejected to try to show that the Kornit printers did

 not run properly as of the November 2021 statement. Compare Opp. 22 with Br.

 18–19 (quoting Oral Argument Tr.). Although Plaintiffs also point to new

 allegations from FE12, Opp. 22, FE12’s statements are substantively identical to

 the already-rejected statements from FE3 and FE4 and thus similarly fail to cure

 the deficiencies the Court previously identified. Br. 19–20.

       Plaintiffs also attempt to rely on an online sale listing for a Kornit printer

 purportedly posted by Sticker Mule. As explained in the Opening Brief, this fails

 for a number of reasons. Br. 20 (citing ACC ¶ 104). In Opposition, Plaintiffs

 attempt to cure one of these deficiencies by submitting (improperly) a curious

 standalone email from a customer service representative of the sales platform on

 which the listing was allegedly posted to Plaintiffs’ counsel; the email attributes

 the listing to Sticker Mule. Opp. Ex. 1. But this exhibit does not address the

 Court’s core concern and provides no support for an inference that a fleet of



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 Sticker Mule’s Kornit printers did not work as of Mr. Samuel’s November 2021

 statements. See Br. 19-20.

       Statements Regarding Alleged Q1 2022 Revenue “Pull-Forward.” As

 explained in the Opening Brief, Plaintiffs have not adequately alleged that Mr.

 Rozner falsely denied a Q1 2022 revenue “pull-forward.” Br. 20–22. They do not

 allege (but merely speculate) that Kornit’s disclosed shipment of orders late in Q1

 2022 was outside the ordinary course of Kornit’s business, and they do not plead

 that the relevant statement was material. Id. In light of Plaintiffs’ concession that

 nothing about Kornit’s Q1 2022 revenue recognition was inconsistent with GAAP

 or unlawful, Opp. 28 n.4, Plaintiffs fail to identify anything false or misleading

 regarding Mr. Rozner’s statement.4

       Plaintiffs attempt to salvage their claim by repeating FE3’s allegations that

 he discussed the alleged pull-forward with Mr. Meyo (President of the Americas

 Division) and Mr. Whaley (VP of Sales). Opp. 27–28. But, as Defendants

 showed, Br. 21–22, FE3’s allegations are little changed from those the Court


       4
         The District of Maryland summary judgment opinion Plaintiffs cite for the
 proposition that nondisclosure of a pull-forward can be misleading involved more
 detailed factual support, including evidence that the defendant intentionally
 “incentivized one of its largest customers to pay down its accounts receivable
 balances early to conceal the disparity in revenue growth and accounts receivable
 growth.” In re Under Armour Sec. Litig., 719 F. Supp. 3d 438, 450 (D. Md. 2024).
 Here, by contrast, Kornit did not conceal its high receivables in Q1 2022; indeed,
 Mr. Rozner affirmatively explained the reason for them.


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 rejected in the OCC, observing that Plaintiffs needed to provide “more concrete

 facts demonstrating the falsity of the statements” at issue. Oral Argument Tr.,

 37:17–25. In response, Plaintiffs once more turn to new FE12’s allegations to

 “corroborate those from FE3.” Opp. 27. The Opening Brief demonstrated,

 however, that FE12’s allegation that Kornit maintained a “buffer” of printers to fill

 late quarter orders, and that this buffer was used to fulfill the late quarter Q1 2022

 orders, actually corroborates and is fully consistent with Mr. Rozner’s statements

 on the Q1 2022 earnings call. Br. 22–23. The Opposition offers no response.

       Plaintiffs claim that their attempted “quantification” of the supposed pull-

 forward at $30 million and 45% of Q1 revenues establishes its materiality, Opp.

 28, but their assertion challenges a strawman argument that Defendants did not

 make. What Defendants showed was that even if a pull-forward had occurred,

 Plaintiffs derive their $30 million number from a disclosed increase in Kornit’s

 accounts receivable in Q1 2022, ACC ¶ 170, which Mr. Rozner expressly

 explained arose from late-quarter shipments. See id.; Br. 22. Thus, even if the $30

 million in late quarter shipments resulted from a pull-forward (which Plaintiffs fail

 to support), there are no allegations in the ACC to explain why reasonable

 investors would have cared about that, given the lack of any allegations that the

 printers were shipped and revenues were recognized (i) earlier than they would

 have been in the ordinary course, and (ii) for the purpose of concealing a decline in



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 demand. The absence of these details dooms Plaintiff’s theory. Br. 21.5

       Statements About Service and Service Contracts. Plaintiffs also fail to

 allege that any statements about Kornit’s service contracts were misleading when

 viewed in context. Br. 23–25. Mr. Samuel’s answer to an analyst’s question on

 the Q4 and FY 2020 earnings call that Kornit sells its customers contracts

 alongside its machines was neither false nor misleading because, as disclosed in

 Kornit’s annual reports, Kornit typically provides a six-month warranty on every

 printing system it sells, customers can concurrently “purchase an additional year of

 support coverage” and such coverage can be renewed thereafter. Id. at 8; see Ex. 1

 at 46; Ex. 2 at 54; Ex. 3 at 43. Plaintiffs continue to twist Mr. Samuel’s words,

 claiming he “falsely stated” that the initial “mandatory multi-year contract was the

 reason Kornit was growing ‘[its] recurring revenue stream.’” Opp. 17–18

 (emphasis in original). But, as Defendants demonstrated, Mr. Samuel said no such


       5
          Despite Plaintiffs’ argument to the contrary, Opp. 28, courts can and often
 dismiss complaints for failure to adequately allege materiality. See, e.g., Wayne
 County Emps.’ Ret. Sys. v. Mavenir, Inc., 2021 WL 311284, at *6 (D. Del. Jan. 29,
 2021), report and recommendation adopted, 2021 WL 1147042 (D. Del. Mar. 25,
 2021); Fox v. Dream Tr., 743 F. Supp. 2d 389, 402–03 (D.N.J. 2010). The cases
 cited by Plaintiffs for the proposition that an analyst question on an issue
 definitively renders that issue material are inapposite, as neither case so holds. See
 City of Brockton Ret. Sys. v. CVS Caremark Corp., 2013 WL 6841927, at *4–*5
 (D.R.I. Dec. 30, 2013) (alleged denial in response to analyst question would
 support scienter if sufficiently alleged to be false); In re Penn Treaty Am. Corp.
 Sec. Litig., 202 F. Supp. 2d 383, 392–93 (E.D. Pa. 2002) (statement in response to
 analyst question not “puffery” because it was not “vague or generally optimistic”).


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 thing. See Br. 23–25; see also ACC ¶ 205; Ex. 4 at 10.6 Plaintiffs, moreover, do

 not contest—and therefore concede—their failure to allege anything false about

 Kornit’s statement that it was seeing “a very nice recurring revenue stream coming

 from the service business.” Br. 23–24 (citing Exs. 4, 10); Ex. 13 at 5 (showing that

 Kornit’s services business posted revenues of $39,369,000 in 2021—a 38.6%

 increase from the prior year).

       As Defendants also established, there are no facts alleged in the ACC to

 suggest that any analyst misunderstood him to be saying—in conflict with Kornit’s

 consistent and unambiguous disclosures in its securities filings both before and

 after—that Kornit only sold multi-year service contracts. See Br. 24–25. Plaintiffs

 thus miss the point in arguing that “[w]hether investors understood [Kornit’s]

 annual report as corrective of Samuel’s false statement . . . is an ‘intensely fact-

 specific’ truth-on the-market defense.” Opp. 19. Kornit’s disclosures were

 entirely consistent with Defendants’ statements, which did not require correction.

 To the extent additional information was needed to place Defendants’ statements in



       6
          Plaintiffs assert that analysts would have had no reason to ask about service
 contract duration if Kornit’s disclosures were clear, but Kornit disclosed that
 customers “usually” purchased a year of support coverage, Ex. 1 at 46; Ex. 2 at 54;
 it thus is not surprising that an analyst asked about whether some contracts had
 multiyear terms. Moreover, the analyst’s question had nothing to do with the
 clarity of Kornit’s disclosures but rather was seeking additional detail on Mr.
 Rozner’s statement about improved service contract attach rate. Ex. 4 at 6, 10.


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 context, Kornit’s disclosures provided that information.

       Finally, Plaintiffs barely defend their allegations that various positive

 statements about Kornit’s services businesses were somehow actionably

 misleading. Opp. 20–21.7 For the reasons set forth in Defendants’ Opening Brief,

 they were not. Br. 25.

       Statements Regarding KornitX’s Value. Plaintiffs’ claims based on alleged

 misstatements and omissions concerning KornitX functionality, customer adaption

 and retention, and revenues fail because those statements were not false or

 misleading and are not actionable under the securities laws in any event. Br. 25–

 28. Indeed, the vast majority of statements Plaintiffs challenge on this topic are

 self-evidently forward-looking (and accompanied by meaningful cautionary

 language), and therefore are protected under the PSLRA’s safe harbor. See Br. 32–

 36; Section I.3, infra; ACC ¶¶ 264; 266. As to certain other statements, Plaintiffs

 do not even attempt to allege facts demonstrating falsity or respond to Defendants’

 arguments. See, e.g., Br. 26 n.14.



       7
          Plaintiffs fault Mr. Samuel for failing to disclose that “approximately 80%
 of customers declined to renew service contracts because of [service and
 reliability] problems,” claiming this rendered a litany of statements misleading.
 Opp. 20–21. But Plaintiffs’ sole source is one customer success manager’s
 “estimat[e],” ACC ¶¶ 55, 76, and that FE offers no basis or context for his claim,
 such as the size of his customer portfolio or the time period of which he speaks.
 Such allegations fail to render Defendants’ service contract statements actionable.


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       Citing the assertions of several FEs, Plaintiffs nonetheless attack Mr.

 Samuel’s January 10, 2022 statement that KornitX was generating “multi-million-

 dollar revenue” and subsequent statements about KornitX’s growth. Opp. 30–32.

 Even assuming these were statements of present fact, Plaintiffs do not adequately

 allege they were false. As the Opposition confirms, none of the FEs was in a

 position to know about KornitX revenues at the time of the statement. Plaintiffs

 assert, for example, that FE3 was originally hired to work on KornitX, id. at 30,

 but FE3 never did so and instead was part of a “separate organization.” Br. 26

 (citing ACC ¶¶ 140, 399). Plaintiffs offer no explanation for how the job FE3 was

 “supposed” to have would have given him knowledge about the revenues

 subsequently generated by a business in which he concededly never had any

 involvement. See ACC ¶ 140. Moreover, FE3’s allegation that he participated in

 weekly sales calls, Opp. 30, is irrelevant because that allegation says nothing about

 whether KornitX was discussed on those calls, ACC ¶ 172, and does not otherwise

 explain why FE3 would know about the performance of that product.

       Nor do Plaintiffs rebut that FE3’s claims are not actually inconsistent with

 Mr. Samuel’s statement. Br. 26 & n.14.8 While Plaintiffs also point to assertions


       8
         Plaintiffs’ claim that “[r]evenue and sales are basically the same” fails to
 engage with the fact that, even if KornitX generated no sales in America, it could
 easily generate a “couple million” in revenue when accounting for Kornit’s
 significant operations outside of America. Compare Opp. 32 n.6 with Br. 26 n.14.


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 by FE10, FE11 and FE12 to “buttress[]” their claims, Opp. 30–31, those FEs were

 in no better position to know about KornitX than FE3, as FE10’s brief tenure at

 Kornit allegedly did not occur until months after Mr. Samuel’s statement, and

 FE11 and FE12 say nothing about revenues at all. Br. 26–27.

       Plaintiffs also do not deny that Kornit’s service revenues—which included

 KornitX—steadily increased throughout the Class Period.9 Compare Ex. 1 at 53,

 with Ex. 2 at 63. Instead, Plaintiffs claim that Kornit “admitted that in 2022 there

 was no growth in ‘software sales,’ and possibly no revenue,” since Kornit’s 2022

 annual report attributed its nearly $10 million increase in services revenue from the

 previous year to “factors other than software sales.” ACC ¶ 143; see Opp. 31–32.

 But that software sales were not identified as a primary driver of the increase in

 services revenue in no way equates to an “admi[ssion]” that software sales did not

 contribute to the increase in revenue at all—nor are Plaintiffs’ claims about

 Kornit’s revenues in any way “undisputed.” Opp. 31–32.

              2.    The Allegedly Omitted Information Was Disclosed

       Kornit routinely and extensively discussed each of the risks—e.g.,



       9
          Plaintiffs’ citation to In re EQT Corp. Sec. Litig., 504 F. Supp. 3d 474
 (W.D. Pa. 2020), in which plaintiffs offered particularized allegations contradicting
 defendants’ claim that a drilling process was “already showing significant returns,”
 id. at 493–95, is therefore inapt. Because Plaintiffs have not adequately alleged
 that KornitX was not growing, Schottenfeld Qualified Assocs., L.P. v. Workstream,
 Inc., 2006 WL 4472318, at *3 (S.D.N.Y. May 4, 2006), is also inapposite.


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 competition, customer loss, KornitX, defective products, and customer service—

 that Plaintiffs allege were omitted, thereby precluding any claims based on

 purportedly misleading nondisclosures. Br. 7–9, 28–32. Largely disregarding the

 actual language of Kornit’s comprehensive disclosures, Plaintiffs incorrectly

 contend that the disclosures were themselves misleading because the subject risks

 supposedly had already materialized and Kornit’s disclosures were “generic” or

 framed in “contingent” language. Opp. 36–38. Not so. As discussed in the

 Opening Brief, Kornit made clear that the risks at issue were not merely

 hypothetical, but had already occurred and were expected to recur. For example:

 •      Kornit’s products had been found to contain previously “undetected errors or
        defects” “in the past” and this likely would continue to occur “from time to
        time” in the future, Br. 8;

 •      Kornit presently “face[d] increased competition,” including expressly from
        M&R, id.;10 and

 •      many of Kornit’s competitors presently “have” advantages Kornit lacked,
        including “greater customer support resources,” id.; see also Ex. 1 at 3–4;
        Ex. 3 at 4; Ex. 2 at 3.11


        10
          Plaintiffs contend that these disclosures were inadequate because they
 allegedly “reference M&R as an analog manufacturer and make no mention of
 M&R’s DTG capabilities.” Opp. 37 n.10. But Kornit identified M&R as a
 competitor for Kornit’s “digital printing systems” and disclosed that competitors
 may “develop and market new technologies,” Ex. 1 at 3–4; Ex. 2 at 3; Ex. 3 at 4—
 precisely what Plaintiffs allege M&R did. ACC ¶ 123.
        11
          Plaintiffs’ cited cases are thus distinguishable. See Emps.’ Ret. Sys. of
 P.R. Elec. Power Auth. v. Conduent Inc., 2020 WL 3026536, at *6 (D.N.J. June 5,
 2020), (defendant did not disclose that certain “technological issues could have a
 (….continued)


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       The only disclosures that Plaintiffs attempt to address in anything other than

 a cursory fashion are those related to KornitX. Opp. 37. Rather than engage with

 the actual language of the disclosures, however, Plaintiffs merely assert that “[t]he

 problems with KornitX were significant and simply not conveyed in Defendants’

 contingent risk warnings.” Id. But, as the Opening Brief demonstrated, there were

 ample disclosures about the risks to KornitX, including that the company had not

 previously offered a subscription-based software service and did not expect

 KornitX to contribute significantly to its near-term results. Br. 8–9, 30–31; Ex. 1

 at 16; Ex. 2 at 15. Fundamentally, Plaintiffs argue that Kornit was not sufficiently

 negative about KornitX’s prospects, but “[m]isguided optimism [] is not a cause of

 action.” In re Nice Sys. Sec. Litig., 135 F. Supp. 2d 551, 575 (D.N.J. 2001).

              3.    The Alleged Misrepresentations Are Nonactionable
                    Forward-Looking Statements
       As established in the Opening Brief, many of the challenged statements are

 forward-looking and thus shielded from liability by the PSLRA’s safe harbor. Br.



 significant impact on the company”); Curran v. Freshpet, Inc., 2018 WL 394878,
 at *5 (D.N.J. Jan. 12, 2018) (defendants did not disclose “any information”
 regarding allegedly ongoing “challenges with retailers and manufacturing
 problems”); see also Weston v. DocuSign, Inc., 669 F. Supp. 3d 849, 878–79 (N.D.
 Cal. 2023) (disclosure that pandemic-related risks “may” impact business were
 misleading where customers had already informed DocuSign that they would not
 renew contracts post-pandemic); Odeh v. Immunomedics, Inc., 2020 WL 4381924,
 at *6 n.6 (D.N.J. July 31, 2020) (disclosure that company may receive FDA notice
 of violations was misleading when it already had received notice).


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 32–36. The Opposition even concedes that “some of these statements touch on the

 future.” Opp. 39. Indeed, many of Defendants’ statements are prefaced with

 textbook forward-looking qualifiers. See, e.g., ACC ¶ 208 (“We expect to continue

 developing our strategic accounts practice . . . .”); Id. ¶ 266 (Kornit expected

 KornitX to generate approximately $100 million of revenues in 2026 . . . .”).

       Unable to avoid this forward-looking language, Plaintiffs highlight other

 portions of these statements to argue that they are “mixed present/future

 statements,” while omitting that many of these statements are inactionable for

 other reasons, such as puffery. Compare Opp. 38–39 with Br. 37 (citing as puffery

 paragraphs 205, 208–209, 214, 216, 231–32, 234–35, 243, 266, 269, and 275).

 Moreover, Plaintiffs ignore that forward-looking statements that contain present-

 tense components remain within the safe harbor where, as here, any arguably

 present-tense elements cannot “meaningfully be distinguished” from future ones.

 See, e.g., In re Aetna, Inc. Sec. Litig., 617 F.3d 272, 280 (3d Cir. 2010).

       Finally, Plaintiffs argue that Defendants’ statements lacked “a reasonable

 basis or meaningful cautionary language,” Opp. 40–41, but do not elaborate on

 how this is so, much less explain why they were not “meaningful.” Br. 28–32.12



       12
         Plaintiffs also claim that Defendants’ June 7, 2022 statements were not
 accompanied by cautionary language, but this is not true. See Ex. 20 (6/7/2022
 William Blair Pres.) at 10 (providing cautionary language).


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 For example, Plaintiffs allege that Kornit’s disclosures were “generic” rather than

 “specific,” but ignore, for example, that Kornit disclosed the existence of

 competition, identified M&R specifically as a key competitor, and noted Kornit’s

 vulnerability due to its few key customers. Br. 29–30.

              4.    The Alleged Misstatements Are Nonactionable Statements
                    of Opinion

       Many of the challenged statements are also nonactionable statements of

 opinion. Br. 36–37. Plaintiffs’ Opposition cannot cure the ACC’s failure to

 adequately plead that these opinion statements are actionable.13 The Opposition

 never argues that Kornit’s opinion statements were not “sincerely believed when

 made” or that they contained any “expressly embedded, untrue factual assertions.”

 City of Warren Police & Fire Ret. Sys. v. Prudential Fin. Inc., 70 F.4th 668, 686

 (3d Cir. 2023). Instead, Plaintiffs allege that Kornit’s opinion statements “implied

 untrue facts and omitted appropriate qualifying language.” Opp. 44. Plaintiffs

 point to the example of Kornit’s discussion of “revenue targets, growth, and




       13
          Plaintiffs incorrectly argue that nonactionable opinion statements require
 explicit “words that would . . . suggest expression of an opinion.” Opp. 43. This is
 indisputably not so. This Court has made clear that even statements that do not
 lead with “I believe” or “I think” can constitute opinions if the subject matter
 “requir[es] management to make estimates and judgments,” rendering the
 statement “inherently subjective.” Ortiz v. Canopy Growth Corp., 537 F. Supp. 3d
 621, 666–71 (D.N.J. 2021) (citing In re Hertz Global Holdings, Inc. Sec. Litig.,
 2017 WL 1536223, at *11 (D.N.J. Apr. 27, 2017)).


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 ‘accelerating’ business fundamentals,” which they argue was supposedly

 misleading because Kornit allegedly “kn[ew] of a material decline in customer

 growth since Q4 2021.” Id.

       As discussed, however, Plaintiffs fail to allege that Kornit knew of any

 decline in demand in Q4 2021. Br. 15–17; see supra at 5–9. Yet, even if Kornit

 had been aware of some reductions in sales at that time, “actual knowledge that

 sales from one source might decrease is not the same as actual knowledge that the

 company’s overall sales projections are false.” Williams v. Globus Med., Inc., 869

 F.3d 235, 246 (3d Cir. 2017). Likewise, an opinion statement is not misleading

 merely because an issuer does not mention a fact that may cut the other way. See

 City of Warren, 70 F.4th at 686–67; see also Omnicare, Inc. v. Laborers Dist.

 Council Const. Indus. Pension Fund, 575 U.S. 175, 189–90 (2015). Here,

 Plaintiffs do not adequately allege any countervailing facts, much less facts that

 could “eclipse the balance of the numerous other considerations” embedded in

 Kornit’s opinion statements. City of Warren, 70 F.4th at 687.

              5.    The Alleged Misstatements Are Nonactionable Puffery

       The Complaint challenges dozens of statements that constitute nonactionable

 puffery under applicable law. Br. 37–38. Plaintiffs do not specifically distinguish

 any of the authority Defendants cited for this point. See Opp. 41–43. Instead,

 Plaintiffs argue that Defendants’ statements are not “so obviously unimportant”



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 that they could be deemed nonactionable at the motion to dismiss stage. Id. at 41.

 But courts routinely dismiss claims premised on statements of puffery like those

 here. See, e.g., Tanaskovic v. Realogy Holdings Corp., No. 19-15053, 2021 WL

 211049, at *20–21 (D.N.J. Jan. 21, 2021); Hertz, 2017 WL 1536223, at *10–11.

       Notably, Plaintiffs rely heavily on out-of-circuit authority to argue that

 Kornit’s general statements of optimism were not puffery. See Opp. 43 (citing

 cases from the District of Massachusetts). The law in this Circuit, however, is

 clear that statements about, e.g., Kornit’s “strong” financial results, “by far, the

 best technology,” and “robust” programs are not “concrete” and “verifiable,” id. at

 42, and thus nonactionable. See Br. 36–37. In fact, the court in In re U.S.

 Interactive, Inc., cited by Plaintiffs, Opp. 42, held—consistent with Defendants’

 argument here—that statements about a company’s competitiveness, its role in the

 market, and its optimistic outlook were nonactionable statements of puffery. 2002

 WL 1971252, at *6, 10–11, 15 (E.D. Pa. Aug. 23, 2002).

       Plaintiffs’ other cited cases are readily distinguishable. Unlike here, certain

 of those cases involved positive assurances about a business allegedly known to be

 doomed, see, e.g., Local 731 I.B. of T. Excavators & Pavers Pension Tr. Fund v.

 Swanson, No. 09-799, 2011 WL 2444675, at *2, *10 (D. Del. June 14, 2011)

 (holding actionable statements that yellow pages industry was “strong” and

 downturn “temporary” given known, permanent shift away from print yellow



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 pages), while others simply did not address the kinds of generalized optimistic

 statements that Defendants have established as puffery, see, e.g., In re Adams Golf,

 Inc. Sec. Litig., 381 F.3d 267, 275 (3d Cir. 2004) (holding that it could not

 determine the materiality of the statement that the company possessed a “limited

 number” of golf clubs while possessing 5,000); In re Merck & Co., Inc. Sec.,

 Derivative, & ERISA Litig., 2011 WL 3444199, at *9–10 (D.N.J. Aug. 8, 2011)

 (finding actionable omission of data about serious health risks of drug); In re Smith

 & Wesson Holding Corp. Sec. Litig., 604 F. Supp. 2d 332, 336, 342–43 (D. Mass.

 2009) (finding actionable specific statements about demand). Precisely because the

 challenged statements here are generalized and optimistic, they do not trigger a

 duty to disclose more. See, e.g., Monk v. Johnson & Johnson, No. 10-4841, 2011

 WL 6339824, at *23 (D.N.J. Dec. 19, 2011).

       B.     Plaintiffs Fail to Plead Particularized Facts Giving
              Rise to the Requisite Strong Inference of Scienter

       Plaintiffs offer a wide assortment of scienter arguments; none meets their

 pleading burden for their Exchange Act claims. Br. 38–47.

              1.    Alleged Stock Sales by Defendant Samuel Fail to Plead a
                    Motive to Commit Fraud

       Alleged stock sales by Mr. Samuel—the only Defendant alleged to have sold

 shares during the Class Period—do not support any inference of scienter. Br. 38–




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 41.14 First, Plaintiffs do not dispute that Mr. Samuel held roughly the same

 quantity of Kornit stock before and after the alleged Class Period. Br. 39.

 Plaintiffs nevertheless try to make much of the allegation that Mr. Samuel sold

 more shares during the Class Period than prior to the Class Period. Opp. 53. But

 they omit any details about Mr. Samuel’s pre-Class Period Kornit holdings and

 trading practices and ignore that Mr. Samuel could not possibly have sold 80,000

 shares before the Class Period because he did not own 80,000 shares at that time.

 See Br. 39; Ex. 1 (2020 20-F) at 82. Indeed, the obvious non-culpable inference

 arising from Mr. Samuel’s trades during the Class Period—which Plaintiffs

 ignore—is that he was simply seeking to keep his holdings constant.

       In fact, Mr. Samuel owned slightly more shares after the Class Period than

 he did before, as Plaintiffs do not and cannot dispute. See Br. 39; Ex. 23 (2022 20-

 F) at 96. Instead, they complain that Kornit’s Annual Report was filed several

 months after the end of the Class Period. Opp. 54. But Plaintiffs—who bear the

 burden to allege facts supporting a compelling inference of scienter—do not and

 cannot allege that the number of shares that Mr. Samuel owned was any lower on

 the last day of the Class Period. Nor do Plaintiffs attempt to allege that Mr.



       14
          Plaintiffs concede that they have not alleged insider sales as to any other
 Defendant, Opp. 54–55, and cite no case in which a single defendant’s alleged
 sales suffice to establish motive by a different defendant. Opp. 55.


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 Samuel’s holdings decreased during the Class Period.

        Even if Mr. Samuel’s trades were suspicious—which they are not—

 Plaintiffs also do not dispute that his trades were made pursuant to Rule 10b5-1

 trading plans, which negate any inference of scienter. Br. 40–41. Plaintiffs’ focus

 on the timing of when his plan was executed—one week into the Class Period—is

 unavailing. Compare Opp. 54 with Br. 41. Plaintiffs do not allege that Mr.

 Samuel possessed any material nonpublic information at that time or that he

 entered into the plan strategically. His trades are thus entitled to the plan’s full

 protection. Br. 40–41; accord Ark. Pub. Emps. Ret. Sys. v. Bristol-Myers Squibb

 Co., 28 F.4th 343, 355–56, 356 n.4 (2d Cir. 2022); In re Lululemon Sec. Litig., 14

 F. Supp. 3d 553, 585 (S.D.N.Y. 2014).

        Plaintiffs’ cited cases are unavailing. Opp. 53–54. They involve

 uncharacteristically large stock sales made outside of any 10b5-1 plans mere weeks

 before other events occurred that cast suspicion on those sales—a far cry from Mr.

 Samuel’s plan sales over seventeen months. See In re Suprema Specialties, Inc.

 Sec. Litig., 438 F.3d 256, 277–78 (3d Cir. 2006) (sales “just six weeks before”

 resignation); In re Viropharma Inc. Sec. Litig., 21 F. Supp. 3d 458, 473-74 (E.D.

 Pa. 2014) (sales “just weeks before the FDA issued their denial of exclusivity”).15


        15
          In claiming that a seventeen-month period would not weigh against
 scienter because In re Hertz Global Holdings, Inc. involved and cited a case
 (….continued)


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              2.     Plaintiffs’ Conclusory Allegations Do Not Give Rise to Any
                     Inference of Scienter
       Plaintiffs’ hodgepodge of other scienter allegations likewise is insufficient.

 Br. 41–46. Plaintiffs contend, for example, that Kornit’s November 2021

 secondary offering provides a motive to commit fraud to increase the proceeds.

 Opp. 55–56. But seeking to offer shares at high prices for maximum profit does

 not give rise to an inference of scienter because that is a motive “generally

 possessed by most corporate directors and officers.” In re Interpool, Inc. Sec.

 Litig., No. 04-321, 2005 WL 2000237, at *11 (D.N.J. Aug. 17, 2005) (rejecting In

 re Resource America Securities Litigation, No. 98-5446, 2000 WL 1053861 (E.D.

 Pa. July 26, 2000), on which Plaintiffs rely); Institutional Invs. Grp. v. Avaya, Inc.,

 564 F.3d 242, 279 (3d Cir. 2009) (“Corporate officers always have an incentive to

 improve the lot of their companies, but this is not, absent unusual circumstances, a

 motive to commit fraud.”).

       Further, Defendants’ mere access to information allegedly contradicting

 their public statements does not—contrary to Plaintiffs’ assertions, Opp. 45–46—

 suffice to plead scienter, as the Court observed in dismissing Plaintiffs’ prior

 Complaint. Oral Argument Tr. 26:21-27:4 (explaining that “just because . . .



 involving longer class periods, Opp. 40, Plaintiffs conveniently omit that the
 second case the court relied on involved an “unusually long class period” of fifteen
 months. 905 F.3d 106, 120 (3d Cir. 2018) (alterations in original).


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 there’s data in a system that is accessible coupled with a guy saying I know

 everything that’s going on” is insufficient); see Br. 41–43. Even Plaintiffs’ cited

 cases involved particularized allegations that Defendants were actually aware of

 specific contrary information. See City of Warwick Ret. Sys. v. Catalent, Inc., 2024

 WL 3219616, at *14 (D.N.J. June 28, 2024) (“The Amended Complaint

 additionally includes many specific allegations that the individual Defendants were

 made aware of certain situations . . . .”). By contrast, Plaintiffs here simply assert

 that management received unspecified “data from Kornit Konnect” at unspecified

 times and speculate regarding what the data “would have revealed.” Opp. 46. This

 is insufficient. Nor do Plaintiffs’ allegations that Defendants knew of anecdotal

 “problems” with customer service and certain discounts, Opp. 47–48, support an

 inference of an intent to mislead.16

       Plaintiffs’ allegations concerning the core operations doctrine or temporal

 proximity are similarly deficient. Compare Opp. 43–45 with Br. 44. Plaintiffs do

 not dispute that the core operations doctrine, without more, is insufficient to allege

 scienter, see Opp. 52–53, and Plaintiffs have not adequately alleged any “more,”

 referring, as they do, merely to “numerous other facts indicative of scienter” that


       16
         Plaintiffs’ claim that Defendants “took steps to mask” a decline in
 demand, Opp. 46–47, fall flat for the reasons discussed in Defendants’ Opening
 Brief and herein for why each of these supposed “steps to mitigate” risks were
 inadequately pled. Br. 20–23; 46–47; supra at 10–12.


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 are not identified in their Opposition, id. at 52. Likewise, generalized allegations

 of Defendants’ involvement in Kornit’s sales and service and statements about

 their knowledge of the business are inadequate to allege that any Defendant knew

 of specific adverse facts conflicting with their public statements. Br. 43–44.17

       The Opposition also misleadingly attempts to create the appearance of

 temporal proximity between certain of Defendants’ statements and the alleged

 disclosure of contradictory information. The Opposition focuses on a handful of

 generalized expressions of optimism, followed weeks later by the disclosure of

 disappointing results. Opp. 51–52. But these expressions of optimism are

 nonactionable, see In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1427–

 28 (3d Cir. 1997), and, in any event, are not in any way inconsistent with the

 alleged information Defendants subsequently disclosed. Plaintiffs further do not

 allege that other (specific) statements at issue during the lengthy Class Period were

 temporally proximate to a supposed corrective disclosure.

       In these ways, this case is starkly different from Institutional Investors

 Group v. Avaya, Inc., 564 F.3d 242 (3d Cir. 2009) and In re Apple Inc. Securities


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          Plaintiffs’ reliance on SEB Investment Management AB v. Endo
 International, PLC, 351 F. Supp. 3d 874 (E.D. Pa. 2018), is misplaced. In that
 case, unlike here, plaintiffs alleged that defendants had made detailed public
 statements about clinical data, indicating that they “possessed the information to
 support their statements” and strongly suggesting that they also knew of contrary
 negative clinical data at the time the statements were made. Id. at 906.


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 Litigation, 2020 WL 6482014 (N.D. Cal. Nov. 4, 2020). Opp. 49–52. In Avaya,

 the Third Circuit focused on the short interval between an executive’s “flat

 denials” of unusual discounting and his admission (on the heels of “horrid” results)

 that major discounts had been offered, Avaya, 564 F.3d at 271–72, which gave rise

 to a strong inference that he knew of that specific fact when he made the earlier

 statement. Similarly, in Apple, Apple cut production lines as soon as four days

 after its CEO made allegedly misleading statements about demand in China, Apple,

 2020 WL 6482014, at *11, which strongly suggested that he possessed information

 about declining demand when he made the statement; the “competing inference

 that defendants decided to cut production lines . . . based on only a few days’ worth

 of data” was “itself implausible.” Id.18 Nothing similar is alleged here.

       Likewise, Defendants’ acknowledgment with hindsight that, in the

 “beginning of 2022,” Defendants “saw major decline” and that some customers’

 demand in the first half of 2022 was “declining year-over-year,” Opp. 50–51, does


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          Wu v. GSX Techedu Inc., 738 F. Supp. 3d 527 (D.N.J. 2024), is equally
 inapposite. There, defendants allegedly had been “repeatedly” presented with
 “detailed information that directly suggested precisely the opposite conclusion” of
 their public statements, including particular reports about which the defendants
 “expressed the sorts of opinions . . . that can only be based on reviewing them.”
 Id. at 561, 564–65. Here, the only statement Plaintiffs identify as purportedly
 irreconcilable with information that Defendants possessed was Mr. Rozner’s
 alleged denial of a revenue “pull-forward” in Q1 2022. Opp. 50. But, as
 demonstrated above, Plaintiffs fail to allege any facts supporting the occurrence of
 a “pull-forward,” let alone that Mr. Rozner knew of such nonexistent facts.


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 not give rise to an inference of contemporaneous scienter. See Br. 45. Plaintiffs’

 allegation that Defendants “admi[tted] that they ‘saw’ th[is] decline in real time,”

 Opp. 51, is belied by the ACC itself, which makes clear that the decline in the first

 half of 2022 was based on knowledge as of August 2022. ACC ¶¶ 199, 293.

              3.     The Confidential Witness Allegations Do Not Give Rise to a
                     Strong Inference of Scienter

       As Defendants demonstrated previously, the FEs’ vague, uncorroborated

 allegations cannot save Plaintiffs’ scienter theory. Br. 46–47. Plaintiffs try to

 rehabilitate these allegations by claiming that the FEs “identify the sources of their

 knowledge” and that their claims “do not hinge on any FE’s personal belief or

 speculation.” Opp. 48–49. As an initial matter, this is not true: the FE allegations

 are frequently unsourced, speculative, and outside the FE’s sphere of knowledge.

 Br. 46–47 (citing examples). FE9, for example, left his role as Vice President of

 Marketing and President for North America at Kornit almost three and a half years

 before the start of the Class Period, currently works at a Kornit competitor, and

 conceded that he typically only had reason to interact with customers unhappy with

 Kornit, giving him no reasonable or reliable basis to conclude that Kornit’s

 products are poor quality. See ACC ¶ 56.

       In addition, the FE allegations attributed to secondhand sources are

 inherently less credible. See Br. 46–47. See Chubb, 394 F.3d at 155; In re

 Synchronoss Techs., Inc. Sec. Litig., 2019 WL 2849933, at *10 (D.N.J. July 2,


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 2019) (discounting confidential witness’s “second-hand retelling and generalized

 rumor”). These secondhand allegations also fail because they do not specifically

 identify the information the FEs’ purported sources possessed, how the sources

 obtained the information, when they conveyed it to the FE, or how it conflicted

 with Defendants’ statements. Opp. 48; see Br. 46–47, 21–22 (e.g., FE3 claims he

 was “made aware of” the pull-forward by more senior executives, whose basis for

 knowledge is not alleged).19

 II.   Plaintiffs’ Securities Act Claims Should Be Dismissed

       As explained in Defendants’ Opening Brief, Plaintiffs’ Securities Act claims

 fail under both Rule 9(b) (which applies because the claims sound in fraud) and

 Rule 8. Br. 47–54; UW Br. 1–3. Plaintiffs fail to rebut these arguments.

       A.     The Securities Act Claims Fail Under Both Rule 9(b) and Rule 8

       Where, as here, Securities Act claims sound in fraud, Rule 9(b)’s heightened

 pleading standard applies. Br. 48. Plaintiffs argue that their Section 11 and

 12(a)(2) claims are not subject to Rule 9(b) because Plaintiffs disavow any

 allegations of fraud and separate the Securities Act claims into a distinct section of



       19
          Plaintiffs misconstrue Avaya, 564 F.3d at 268–69, as “rejecting” an
 argument that a distant connection between confidential witnesses and defendants
 undermines scienter. Opp. 48. Avaya merely determined that, in light of “all of
 the allegations of scienter”—which went meaningfully beyond confidential witness
 allegations—a strong inference of recklessness was present in that case. 564 F.3d
 at 280. That is not the case here.


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 the ACC. Opp. 57. Plaintiffs do not dispute, however, that the ACC uses the same

 allegations to plead falsity and scienter for both the fraud-based Section 10(b)

 claims and the Securities Act claims. Br. 49–50.

       Instead, relying on Suprema, 438 F.3d, Plaintiffs try to dismiss this parallel

 pleading as “immaterial.” Opp. 58. But the Suprema court’s holding hinged on

 the complaint’s “express[]” pleading of “ordinary negligence” in the Securities Act

 allegations that were, at worst, “somewhat commingled” with fraud allegations.

 438 F.3d at 272–73; see also In re Coinbase Glob., Inc. Sec. Litig., 2024 WL

 4053009, at *21 (D.N.J. Sept. 5, 2024) (Securities Act claims sounded in

 negligence because they alleged failure to exercise reasonable care). Here,

 although Plaintiffs nod to negligence, ACC ¶¶ 414, 423, their entire theory is

 fraud: the ACC’s Securities Act section is replete with allegations of knowing

 misconduct lifted directly from the Exchange Act section. See, e.g., Br. 49 (citing

 ACC ¶¶ 51, 139, 347, 383, 398). As multiple circuit courts have acknowledged, a

 Securities Act claim that “relies on the same factual allegations that served as a

 basis for [plaintiffs’] Section 10(b) claim” is more than “somewhat comingled”—it

 sounds in fraud. Br. 48–50; see Caiafa v. Sea Containers, Ltd., 331 Fed. Appx. 14,

 16 (2d Cir. 2009); Rubke v. Capitol Bancorp Ltd., 551 F.3d 1156, 1161 (9th Cir.

 2009); Cozzarelli v. Inspire Pharms., Inc., 549 F.3d 618, 629 (4th Cir. 2008).

 Plaintiffs make no attempt to address these cases—or any other cases in which a



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 plaintiff raised identical allegations to support both fraud and non-fraud claims.

       Plaintiffs’ disavowal of fraud and separation of the Exchange Act and

 Securities Act claims cannot insulate the Securities Act claims from Rule 9(b). See

 Lord Abbett Affiliated Fund, Inc. v. Navient Corp., 2017 WL 3891676, at *2 (D.

 Del. Sept. 6, 2017) (applying Rule 9(b) “despite an express disavowal of fraud”

 and “superficial[]” division of Exchange Act and Securities Act claims). Where “a

 complaint employs the exact same factual allegations to allege violations of [the

 Securities Act] as it uses to allege fraudulent conduct under section 10(b) of the

 Exchange Act, we can assume that it sounds in fraud” without examining the

 “language and structure of the complaint.” Rubke, 551 F.3d at 1161. As in Chubb

 and similar post-Suprema cases, “[a]n examination of the factual allegations that

 support Plaintiffs’ [S]ection 11 claims” in the ACC “establishes that [Plaintiffs’]

 claims are indisputably immersed in unparticularized allegations of fraud.”

 Suprema, 438 F.3d at 270 (citing Chubb, 394 F.3d at 160); see also Br. 48–50.

       Because Rule 9(b) applies, Plaintiffs claims must be dismissed because, as

 set forth above, they fail to plead falsity, let alone scienter, with the requisite

 particularity. Supra at Section I. It is also irrelevant that, as Plaintiffs point out,

 the Underwriter Defendants are named only in the non-fraud Section 12(a)(2)

 claim. Opp. at 57 n.19. Plaintiffs’ leveling at the Underwriter Defendants the

 exact same allegations that undergird the fraud claims threatens precisely the



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 reputational harm Rule 9(b) was designed to prevent, UW Br. 1–2—another

 argument Plaintiffs do not try to refute.

       But even under Rule 8(a)’s plausibility standard, Plaintiffs cannot salvage

 their Section 11 and 12(a)(2) claims because they have not pleaded that any of the

 four statements upon which they base their claims was false or misleading. See Br.

 50–54; UW Br. 2–3. In fact, Plaintiffs all but concede as much; they barely

 attempt to respond to Defendants’ arguments as to these statements, Opp. 58–59.

       First, Plaintiffs’ challenge to Kornit’s statements that its “systems, inks and

 other consumables, and [] software may contain undetected errors or defects” as

 misleadingly contingent, Opp. 58–59; ACC ¶¶ 404–05, fails because Kornit

 undisputedly disclosed contemporaneously that it “had experienced” such defects

 in the past and expected them to recur, supra at 17; Br. 51.

       Second, Plaintiffs barely attempt to refute Defendants’ showing that vague

 statements concerning Kornit products’ productivity and cost of ownership were

 not actually alleged to be false and, in any event, are not actionable. Indeed,

 Plaintiffs’ responses consist of a cross-reference to a section of the Opposition

 addressing puffery (which fails, see supra at Section I.A.5) and the conclusory

 contention that the statements were “untrue and misleading.” Opp. 59 & n.20.

       Third, Plaintiffs argue that statements about “appropriate investments” in

 customer support and striving to deliver a “best in class customer experience” were



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 false because several confidential witnesses say so. Opp. 20–21 (citing ACC

 ¶¶ 357–84, 409–10). But Plaintiffs fail to address (and therefore concede) the

 threshold issue—these statements were simply too vague to be actionable, Br. 53—

 and, in any event, the relevant risks were disclosed, see Br. 8, 30–31.

       Finally, Plaintiffs’ challenge to Kornit’s statements that KornitX was a

 “robust platform” fail given Kornit’s unequivocal disclosures that KornitX

 experienced “software bugs and defects that adversely impact [] customer[s’]

 production processes” and “challenges providing support to software users.” Br.

 8–9. Plaintiffs also do not address Defendants’ arguments that describing a

 platform as “robust” constitutes inactionable puffery. Br. 53–54 (citing cases).

 III. Plaintiffs Fail to Plead “Controlling Person” Liability

       Plaintiffs’ control person claims fail because Plaintiffs have not pleaded any

 primary violation and because they also fail to allege culpable participation on the

 part of either Individual Defendant. See Br. 54; supra.

                                   CONCLUSION

       For the foregoing reasons and those set forth in the Opening Brief,

 Defendants respectfully request that the Court dismiss the ACC with prejudice.




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 Dated: April 25, 2025
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